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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                            Case No. 1:08-CR-136

THOMAS GORDON,                                                Hon. Robert Holmes Bell

               Defendant.

                                               /


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. Mich. LCrR 11.1 and upon a request of the district court, I

conducted a felony plea hearing in this matter on August 27, 2008, after receiving the written

consent of the defendant, the defendant's attorney, and the attorney for the government. These

consents were also placed on the record in open court.

               Defendant Thomas Gordon is charged in a single-count Indictment with bank

robbery. On the basis of this record, I found that defendant was competent to enter a plea of guilty

and that his plea was knowledgeable and voluntary with a full understanding of each of the rights

waived by the defendant, that the defendant fully understood the nature of the charge and the

consequences of his plea, and that the defendant's plea had a sufficient basis in fact which contained

all of the elements of the offense charged.

               There was no written plea agreement in this case.




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                  I accepted the plea of guilty, subject to final acceptance of the plea by the District

Judge. I ordered the preparation of a presentence investigation report, and directed the clerk to

procure a transcript of the plea hearing for review by the District Judge.

                                           Recommendation

                  Based upon the foregoing, I respectfully recommend that the defendant's plea of

guilty to the single-count Indictment be accepted, and that the court adjudicate the defendant guilty

of that charge.



Dated: August 28, 2008                                   /s/ Hugh W. Brenneman, Jr.
                                                         HUGH W. BRENNEMAN, JR.
                                                         United States Magistrate Judge




                                        NOTICE TO PARTIES

                You have the right to de novo review by the district judge of the foregoing findings.
Any application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than ten (l0) days after the plea
hearing. See W.D. Mich. LCrR 11.1(b). A failure to file timely objections may result in the waiver
of any further right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474
U.S. 140 (1985); Neuman v. Rivers, 125 F.3d 315, 322-23 (6th Cir.), cert. denied, 522 U.S. 1030
(1997); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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